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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

 In Re:                                          Case No. 18-30726-lkg

 Keith A. Matthews
                                                 Chapter 13
  aka Keith Andre Matthews

 Debtor.                                         Hon. Judge Laura K. Grandy

                                CERTIFICATE OF SERVICE

        Attached is a courtesy copy for your records of the Proof of Claim which was entered in
the case herein.

       The undersigned certifies that this document was served electronically through the
Court’s electronic mailing system pursuant to the notice generated by the Court on October 1,
2020 to the following parties:

TO TRUSTEE: Russell C. Simon at simontrustee@yahoo.com
TO DEBTOR’S COUNSEL: John J Johnston at johnjohnston@dixonjohnston.com

       The Notice of Creditor Change of Address was further serviced by mailing, postage
prepaid in the United States Mail, using first-class postage to the following parties:

          TO DEBTOR: Keith A. Matthews, at 635 Deppe Lane, Fairview Heights, IL 62208

                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
                                                 Molly Slutsky Simons (OH 0083702)
                                                 Sottile & Barile, Attorneys at Law
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
                                                 Attorney for Creditor
